                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                        ) Case No. 1:17-cr-70-4
                                                 )
 v.                                              ) Judge Travis R. McDonough
                                                 )
 JAMES JOHNSON                                   ) Magistrate Judge Christopher H. Steger

                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge conducted

 a plea hearing in this case on August 29, 2017. At the hearing, Defendant entered a plea of guilty

 to a lesser included offense of Count One of the Indictment. On the basis of the record made at

 the hearing, the Court finds that Defendant is fully competent and capable of entering an informed

 plea; the plea is made knowingly and with full understanding of each of the rights waived by

 Defendant; it is made voluntarily and free from any force, threats, or promises; Defendant

 understands the nature of the charges and penalties provided by law; and the plea has a sufficient

 basis in fact. Acceptance of the plea, adjudication of guilt, acceptance of the Plea Agreement, and

 imposition of sentence are specifically reserved for the District Court Judge.

        I therefore recommend that the Court: (1) grant Defendant’s motion to withdraw his not

 guilty plea to a lesser included offense of Count One of the Indictment; (2) accept Defendant’s

 guilty plea to a lesser included offense of Count One of the Indictment; (3) adjudicate Defendant

 guilty of conspiracy to distribute 500 grams or more of a substance containing a detectable amount

 of cocaine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)

 and 846; and (4) order that Defendant remain out of custody subject to the Order Setting

 Conditions of Release [Doc. 35] until further order of the Court or sentencing in this matter.

        The Defendant’s sentencing hearing is scheduled on January 12, 2018, at 2:00 p.m.

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 ENTER.


                                                Christopher H. Steger
                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review by the district judge of the foregoing findings. Any
 application for review must be in writing; must specify the portions of the findings or proceedings
 objected to; and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. § 636(b).




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